Case 2:23-cv-04641-MAK Document1 Filed 11/22/23 Page 1 of 19
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Joseph Smith Medical Guardiaps ; LLC

JS 44 (Rev. 04/21)

(b) County of Residence of First Listed Plaintiff Philadelphia

County of Residence of First Listed Defendant

Philadelphi

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Albert J. Michell,

P.C. 40 W. Evergreen Ave., Ste 101

Philadelphia, PA 19118 tel# 215.922.2588

Attorneys (if Known)

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION oe USE THE LOCATION OF
THE TRACT OF LAND INVOL

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only)

Tit. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
CL] 1. U.S. Government [x] 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State CJ 1 CT 1 Incorporated or Principal Place 4 4
of Business In This State
[_]2 U.S. Government [_]4 Diversity Citizen of Another State [12 [J 2. Incorporated and Principal Place [_] 5 []5
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a (13 [1 3 Foreign Nation [le« (Je6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY |_| 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Oo 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C] 367 Health Care/ INTELLECTUAL | | 400 State Reapportionment
[_] 150 Recovery of Overpayment |_| 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS _[ | 410 Antitrust
& Enforcement of Judgment Slander Personal Injury | | 820 Copyrights 430 Banks and Banking
151 Medicare Act |_| 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
— 152 Recovery of Defaulted Liability CT 368 Asbestos Personal - 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
aL, of Veteran’s Benefits ~ 350 Motor Vehicle E 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|__| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
[__] 190 Other Contract Product Liability [_] 380 Other Personal | _]720 Labor/Management SOCIAL SECURITY Protection Act
| 195 Contract Product Liability | | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
|_| 196 Franchise Injury C 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
|_| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | |790 Other Labor Litigation [[ ] 865 RSI (405(g)) [_] 891 Agricultural Acts
| _|210 Land Condemnation | 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement | | 893 Environmental Matters
[| 220 Foreclosure | 44] Voting [| 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
[| 230 Rent Lease & Ejectment 442 Employment i | 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations [| 530 General [| 871 IRS—Third Party - 899 Administrative Procedure
[_]290 All Other Real Property [_] 445 Amer. w/Disabilities -[] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|] 446 Amer. w/Disabilities -[7 ] 540 Mandamus & Other 465 Other Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “xX” in One Box Only)

Original
Proceeding

m!

2 Removed from
State Court

(3. Remanded from
Appellate Court

L4 Reinstated or CO 5 Transferred from
Another District

(specify)

Reopened

Litigation
Transfer

6 Multidistrict

Cl 8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Title VIl 42 USC Sec. 2000 et seq.; 42 USC Sec. 1981

Brief description of cause:
Race discrimination and retaliation in employment

VI. CAUSE OF ACTION

VII. REQUESTEDIN  [] CHECKIFTHISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [elves [No
VIII. RELATED CASE(S) a 5
ee instructions):
IF ANY “JUDGE DOCKET NUMBER
DATE P
[1[21[2.023 a eS
FOR OFFICE USE ONLY ——S——
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Joseph Smith
CIVIL ACTION

Vv

Medical Guardian, LLC
NO,

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court. counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall. with its first appearance. submit to the clerk of court and serve on the
plaintiffand all other parties. a Case Management Track Designation Form specifying the track to which
that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )
(b) Social Security — Cases requesting review of a decision of the Secretary of Health

and Human Services denying plaintiff Social Security Benefits. ( )
(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (x)
2/202 3 Albert J. Michell, Esq. Plaintiff Joseph Smith
Date — Attorney-at-law Attorney for
215.922.2588 215.922.2590 albertjmichell@gmail.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:23-cv-04641-MAK Document1 Filed 11/22/23 Page 3 of 19

05/2023

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff; 1 Franklin Town Boulevard, Apt. 2002, Philadelphia, PA 19103

Address of Defendant:1500 Locust Street, Ste. 4310, Philadelphia, PA 19102
1818 Market Street, Ste. 1200, Philadelphia, PA 19103

Place of Accident, Incident or Transaction:

RELATED CASE IF ANY:
Case Number: Judge: Date Terminated

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit

Pending or within one year previously terminated action in this court? Yes [] No
3. Does this case involve the validity or infringement of a patent already in suit or any earlier

Numbered case pending or within one year previously termimated action of this court? Yes [| No
4. Is this case a second or successive habeas corpus, social security appeal, or pro se case filed

by the same individual? Yes L No k |

I certify that, to my knowledge, the within case[_] is /L4 is not related to any now pending or within one year previously terminated

action in this court except as note 0 ee
DATE: (/ mw 623 Albert J. Michell, “Esquire 76797

Attorney-at-Law (Must sign above) Attorney I.D. # (if applicable)
Civil (Place a \ in one category only)
A. Federal Question Cases: B. Diversity Jurisdiction Cases:
CI 1. Indemnity Contract, Marine Contract, and All Other Contracts) (-] 1. Insurance Contract and Other Contracts
CJ 2. FELA LJ 2. Airplane Personal Injury
L] 3. Jones Act-Personal Injury [I] 3. Assault, Defamation
CL] 4. Antitrust [J] 4. Marine Personal Injury
CI 5. Wage and Hour Class Action/Collective Action C15. Motor Vehicle Personal Injury
CI 6. Patent C16. Other Personal Injury (Please specify):
Lely, Copyright/Trademark CI 7. Products Liability
ker 8. Employment CJ g. All Other Diversity Cases: (Please specify)
LI 9. Labor-Management Relations
LI] 10. Civil Rights
C1 11. Habeas Corpus
LI 12. Securities Cases
C1} 13. Social Security Review Cases
LC] 14. Qui Tam Cases
(_] 15. All Other Federal Question Cases. (Please specify):

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration)

LAlbert J. Michell Ese@unsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
case exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is LZ
Albert J. Michell, Esq. 76797

DATE: (22126 23

Attorney-at-Law (Sign here if applicable) Attorney ID # (if applicable)

NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.

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UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

Joseph Smith
1 Franklin Town Boulevard
Apartment # 2002
Philadelphia, PA 19103
Plaintiff
V. : CIVIL ACTION
i DOCKET NO.::
Medical Guardian, LLC
1500 Locust Street
Suite 4310
Philadelphia, PA 19102

Defendant

COMPLAINT
Comes now the Plaintiff Joseph Smith, by and through counsel Albert J. Michell,

Esquire, and for his complaint and cause of action, states as follows:

PARTIES

1. Plaintiff, Joseph Smith (hereinafter “Plaintiff” or “Mr. Smith”), is an adult African
American male and a resident of the Commonwealth of Pennsylvania who living at 1 Franklin
Town Boulevard, Apartment # 2002, Philadelphia, PA 19103.
2. Defendant Medical Guardian, LLC, (hereinafter “Defendant” or “Medical Guardian,
LLC”) is a limited liability company with a license to do business in Pennsylvania with its
registered address located at 1500 Locust Street, Suite 4310, Philadelphia, PA 19102. Medical
Guardian, LLC is a person as defined in 42 U.S.C. Sec 2000e-2(a).
3. At all times relevant to this action the above named Defendant was “engaged in an
industry affecting commerce” within the meaning of Sections 701(g) and 701(h) of Title VII, 42
U.S.C. Sections 2000e(g) and 2000e(h).

At all times relevant to this action Defendant employed 100 or more employees.

At all times relevant to this action Defendant was an “employer” within the meaning of

Section 701(b) of Title VII, 42 U.S.C. Section 2000e(b).
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At all times relevant to this action Defendant was an “employer” within the meaning of
Section 4 of the Pennsylvania Human Relations Act (hereinafter “PHRA”), 43 P.S. Section 954.
At all times relevant to this action Defendant was an “employer” within the meaning of

Section 5 of the PHRA, 43 P.S. Section 955.

JURISDICTION
4. Jurisdiction of this court comes under 28 U.S.C. Sec. 1331 (Federal question) based on
Mr. Smith’s claims under Sections 703(a) and 706(f)(1) of title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. Sections 2000e-2(a) and 2000e-5(f)(1) and 42 U.S.C. Section
2000e3(a) (“Title VII’) and 42 U.S.C. §1981. The state law components of this action arise under

the Pennsylvania Human Relations Act, 43 P.C. Section 951, et seg., and the Pennsylvania Wage
Payment and Collection Law, Pa. Stat. Ann. Tit. 43, Section 260,1 et seq. (hereinafter “WPCL”)
This Court has supplemental subject matter jurisdiction over the state law components of this

action pursuant to 28 U.S.C. Section 1367(a).

VENUE
5. Venue in this district is proper because the discriminatory acts complained of occurred
primarily at Defendant’s business location at 1818 Market Street, Suite 1200, Philadelphia, PA
19103, located within the Eastern District of Pennsylvania and Plaintiff resides in this District.

PROCEDURAL REQUIREMENTS

6. Within 300 days of the occurrences of the acts of discrimination of which he complains,
Plaintiff dual filed Charges of Discrimination against Defendant with the Equal Employment
Opportunity Commission (hereinafter “EEOC’’) and the Pennsylvania Human Relations
Commission (hereinafter “PHRC”) alleging race-based employment discrimination and
retaliation.

The EEOC and PHRC have held exclusive jurisdiction over Plaintiff's complaints for
over 6 months.

To date, neither the EEOC or PCHR have reached a conciliation agreement to which
Plaintiff is a party.
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On September 18, 2023, the EEOC issued a Notice of Right To Sue letter, allowing
Plaintiff to sue in Federal Court within ninety (90) days of receipt. (See attached Notice of Right
to Sue letter dated September 18, 2023.)

STATEMENT OF FACTS
ds Defendant Medical Guardian, LLC is a medical device company with its registered

address located at 1500 Locust Street, Suite 4310, Philadelphia, PA 19102.

8. Mr. Smith, a black male, with approximately 30 years of experience in the collections
field was hired by Defendant on September 16, 2014 as Collections Manager.

9. Plaintiff developed Defendant’s Collections Department and excelled at his position,
which involved managing collections employees in collecting outstanding accounts receivables.
10. Sean Coyne, a white male, was hired by Defendant in March 2014 as Controllor and
became Plaintiff's direct supervisor upon Plaintiffs hire.

11. Shortly after beginning employment with Defendant, Mr. Smith was severely and
consistently racially harassed by Coyne.

Lz. Coyne would continually send Plaintiff text messages of blacks being killed by whites.
13. Coyne sent a text message containing a video of a black man brutally beaten by police
officers.

14. Coyne sent Plaintiff photos of police dressed up as Travon Martin (a black youth shot and
killed by a white man).

15. Coyne would consistently make disparaging comments to Plaintiff about blacks, such as
their being on welfare.

16. | Coyne would consistently make disparaging comments to Plaintiff about how blacks
dress and talk.

its Coyne made comments such as “thank god I’m white” to Plaintiff.

18. Coyne would comment about Plaintiff's black subordinates, such as “she’s so black”.
19. Defendants Chief Financial Officer Mark Gillbert (white male), to whom Coyne reported
(and to whom Plaintiff directly reported for a period of time in approximately mid 2016 to early
2017) joined into Coyne’s racially disparaging conversations and made his own disparaging

comments. Gilbert once voiced his displeasure at the hiring of a black female collections
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employee indicating she was “too black and unattractive”. He agreed to her hiring only if
Plaintiff would face her against the wall so Gilbert wouldn’t have to see her face as he exited his
office.

20. Plaintiff continually made internal complaints about Coyne and Gilbert’s racial
harassment and the hostile work environment to Defendant’s Human Resources Department and
upper management, but no action was taken and the harassment intensified.

21. Plaintiff was paid a salary of approximately $50,000.00 plus commissions, which were
based on the performance of the Collections Department.

22. After Plaintiff began complaining of racial harassment, Sean Coyne, with the consent and
approval of Gilbert and Defendant’s upper management, began releasing inaccurate collections-
related data which always showed results worse than the actual numbers, detrimentally affecting

Plaintiffs commissions.

23. Plaintiff complained of this to upper management and requested accurate numbers, to no
avail.
24. Sean Coyne, with the consent and approval of Gilbert and upper management, set

Plaintiff's collections goals at the beginning of the monthly collections periods - numbers that
had to be reached in order for Plaintiff to collect his commissions - and would then retroactively
change the stated goals at the end of the periods to higher numbers, thus preventing Plaintiff from
collecting his full commissions.

25. Plaintiff complained of this practice to upper management, to no avail.

26. | Upon information and belief the retroactive goal setting by Defendant caused Plaintiff to
lose commissions for years in the approximate amounts of: $12,000.00 (2018), $12,000.00
(2019), $12,000.00 (2020) , $24,450 (2021), and unknown amount for 2022.

27. The detrimentally inaccurate collections data and retroactive goal shifting not only cost
Plaintiff commission money, but also prejudiced his evaluations, impacting his pay and
promotions opportunities.

28. Coyne was promoted to Vice President of Accounting and Finance in about July of 2022.
29. Defendant did not post Coyne’s prior position of Controller nor notify Plaintiff of its
availability but instead immediately hired Rich Dalamas (white male) for the Controller position,

with Plaintiff as Dalamas’s direct subordinate.
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30. | Upon information and belief Plaintiff was passed over for promotion to this position
despite his superior qualifications.

31. Plaintiff subsequently trained Dalamas for the Controller position.

32. Defendant issued a false disciplinary action against Plaintiff in or about August of 2022
in an attempt to terminate Plaintiff.

33. Defendant issued Plaintiff a false and inaccurate performance evaluation in or about
March of 2023 in an attempt to terminate Plaintiff.

34. Plaintiff was diagnosed with a serious health condition - stage 4 colon cancer - in
February 2023, necessitating his going out on FMLA leave in April 2023 and subsequently being
placed on short and long term disability leave.

ao Plaintiff was subjected to harassment and adverse employment decisions by Defendant on
the basis of his race, and in retaliation for his complaints of same, and not because of any
legitimate business reason.

36. Defendant by and through its employees humiliated, embarrassed, and subjected Plaintiff
to mental distress and anguish through their deliberate harassment, discrimination and retaliation.
37. Asaresult of Defendant’s discrimination and retaliation of Plaintiff, Plaintiff suffered
lost income and other monetary damages including the necessity of hiring an attorney to file this

suit.

COUNT I
Title VII - Race Discrimination/Harassment in Employment

38. Plaintiff incorporates paragraphs 1 through 37 as though set forth in full herein.

39. By the conduct set forth in the Statement of Facts above, Defendant engaged in unlawful
employment discrimination in violation of Section 703 (a) of Title VII, 42 U.S.C. Section 2000e-
2(a).

40. Taken together, the acts outlined above up describe a pattern of intentional discrimination
against and disparate treatment of Plaintiff on account of his race (black) with respect to the
terms and conditions of his employment.

41. Taken together, the acts outlined above were intentional and describe a hostile work

environment based on race:
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(a) Plaintiff suffered the intentional discrimination outlined above because of his
membership in a protected class - black;

(b) such discrimination was pervasive and regular;

(c) such discrimination detrimentally affected the Plaintiff;

(d) such discrimination would have detrimentally affected a reasonable person of the
same protected class in his position; and

(e) there existed in the corporate Defendant respondeat superior liability for the
actions of its agents and employees.

42. Similarly situated whites were not treated in this manner.
43. The effects of Defendant’s employment practices deprived Plaintiff of equal employment
opportunities and otherwise adversely affected his status as an employee because of his race.
44. Asaresult of Defendant’s action and conduct, Plaintiff has suffered emotional pain and
distress, loss of income, mental anguish, and loss of enjoyment of life’s pleasures.
45. The above described acts and omissions of Defendant with regard to Plaintiff were
egregious and were committed with a malicious, willful, and/or reckless indifference to the
Federally protected rights of Plaintiff.
46. Said acts and omissions of Defendant were committed by and through its management
employees within their agency/employment relationships with Defendant.
47. The extreme and outrageous acts and omissions of Defendant merit the imposition of
punitive damages.
WHEREFORE, Plaintiff Joseph Smith prays that this Court:

(a) accepts jurisdiction over this matter;

(b) impanels and charges a jury with respect to the causes of action; and

(c) awards the following damages:

i. back pay and front pay along with pre and post
judgment interest;

ii. punitive, liquidated, and compensatory damages including, but not
limited to, damages for pain and suffering, anxiety, humiliation,
and emotional distress in order to compensate him
for the injuries he has suffered and to signal to other employers
that such acts in employment are repulsive to legislative
enactments and public policy;

lil. attorneys’ fees, expert witness fees, the costs of this action, and
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expenses as provided by applicable Federal statutes; and

iv. any other relief which this Court deems just and equitable.

COUNT I
PHRA - Race Discrimination/Harassment in Employment

48. Plaintiff incorporates paragraphs | through 47 as though set forth in full herein.

49. By the conduct set forth in the Statement of Facts above, Defendant engaged in unlawful
employment discrimination in violation of the Pennsylvania Human Relations Act, 43 P.C.
Sections 953 and 955.

50. Taken together, the acts outlined above describe a pattern of intentional discrimination
against and disparate treatment of Plaintiff on account of his race (black) with respect to the
terms and conditions of his employment.

51. Taken together, the acts outlined above were intentional and describe a hostile work
environment based on race:

(a) Plaintiff suffered the intentional discrimination outlined above because of his
membership in protected class - black;

(b) such discrimination was pervasive and regular;

(c) such discrimination detrimentally affected the Plaintiff;

(d) such discrimination would have detrimentally affected a reasonable person of the
same protected classes in his position; and

(e) there existed in the corporate Defendant respondeat superior liability for the
actions of its agents and employees.

52. Similarly situated whites were not treated in this manner.
53. There existed in the corporate Defendant respondeat superior liability for the actions of its
agents and employees.
54. Defendant’s employment practices deprived Plaintiff of equal employment opportunities
and otherwise adversely affected his status as an employee because of his race.
So. Defendant engaged in the unlawful employment practices outlined above with malice or
reckless indifference to the state and municipality protected rights of Plaintiff.
56. As a result of Defendant’s action and conduct, Plaintiff has suffered emotional distress,
loss of income, mental anguish, and loss of enjoyment of life’s pleasures.

WHEREFORE, Plaintiff Joseph Smith prays that this Court:

(a) accepts jurisdiction over this matter;
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(b) — impanels and charges a jury with respect to the causes of action; and
(c) awards the following damages:
1. back pay and front pay along with pre and post
judgment interest;
ii. liquidated, and compensatory damages including, but not
limited to, damages for pain and suffering, anxiety, humiliation,
and emotional distress in order to compensate him
for the injuries he has suffered and to signal to other employers
that such acts in employment are repulsive to legislative
enactments and public policy;
ill. attorneys’ fees, expert witness fees, the costs of this action, and
expenses as provided for by applicable Pennsylvania state statutes;

and

iv. any other relief which this Court deems just and equitable.

COUNT Il
Retaliation

57. Plaintiff incorporates paragraphs 1 through 56 as though set forth in full herein.

58. As outlined in the Statement of Facts, Plaintiff engaged in the opposition of unlawful
employment practices, Defendant’s described acts and omissions constituting violations of Title
VII and the PHRA, by making complaints of such treatment to management.

59. Plaintiff's said opposition was a protected activity.

60. Defendant harassed Plaintiff and detrimentally affected the terms and conditions of his
employment for engaging in these protected activities.

61. Defendant’s acts of discrimination as aforesaid were intentional, willful and in reckless
disregard of Plaintiff's rights and interests.

62. By the conduct set forth in the Statement of Facts above, Defendant engaged in unlawful
employment discrimination in violation of 42 U.S.C. Section 2000e3(a) and the PHRA.

63. The above described acts and omissions of Defendant with regard to Plaintiff were

egregious and were committed with a malicious, willful, and/or reckless indifference to the
Case 2:23-cv-04641-MAK Document1 Filed 11/22/23 Page 12 of 19

Federally protected rights of Plaintiff.
64. Said acts and omissions of Defendant were committed by and through its management
employees within their agency/employment relationships with Defendant.
65. The extreme and outrageous acts and omissions of Defendant merit the imposition of
punitive damages.
WHEREFORE, Plaintiff Joseph Smith prays that this Court:
(a) accepts jurisdiction over this matter;
(b) impanels and charges a jury with respect to the causes of action; and
(c) awards the following damages:

. back pay and front pay along with pre and post
judgment interest;

il. punitive, liquidated, and compensatory damages including, but not
limited to, damages for pain and suffering, anxiety, humiliation,
and emotional distress in order to compensate him
for the injuries he has suffered and to signal to other employers
that such acts in employment are repulsive to legislative
enactments and public policy;

ii. attorneys’ fees, expert witness fees, the costs of this action, and
expenses as provided for by applicable Federal statutes; and

iv. any other relief which this Court deems just and equitable.

COUNT IV

42 U.S.C. §1981 Violations
66. Plaintiff incorporates paragraphs 1 through 65 as though set forth in full herein.
67. Defendant by and through its agents and employees intentionally discriminated against
Plaintiff because of his race (black) by means of its above conduct.
68. Taken together, the acts outlined above up describe a pattern of intentional discrimination
against and disparate treatment of Plaintiff on account of his race with respect to the terms and
conditions of his employment, constituting adverse tangible employment actions.
69. Taken together, the acts outlined above were intentional and describe a hostile work

environment based on race:
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(a) Plaintiff suffered the intentional discrimination outlined above because of his
membership in a protected class-black;
(b) such discrimination was pervasive and regular;
(c) such discrimination detrimentally affected the Plaintiff;
(d) such discrimination would have detrimentally affected a reasonable person of the
same protected class in his position;
(e) Plaintiff suffered the above described adverse tangible employment actions; and
(f) there existed in the corporate Defendant respondeat superior liability for the
actions of its agents and employees.
70. Similarly situated whites were not treated in this manner.
71. Said acts and omissions of Defendant were committed by and through its management
employees within their agency/employment relationships with Defendant.
7. As a result of Defendant’s action and conduct, Plaintiff has suffered emotional pain and
distress, loss of income, mental anguish, and loss of enjoyment of life’s pleasures.
73. Taken together, the acts outlined above constitute violations of §1981.
74. The above described acts and omissions of Defendant with regard to Plaintiff were
extreme and outrageous and were committed with a malicious, willful, and/or reckless
indifference to the Federally protected rights of Plaintiff, warranting punitive damages.
WHEREFORE, Plaintiff Joseph Smith demands judgment in his favor and against
Defendant and requests that this Court order that:
(a) Defendant compensate Plaintiff for the past and future wages lost because of its
unlawful conduct;
(b) Defendant pay to Plaintiff compensatory damages for suffering, inconvenience,
mental anguish, loss of enjoyment of life, and other non-pecuniary losses as allowable; and
(c) Defendant pay to Plaintiff all other legal and equitable relief recoverable under
§1981 including, but not limited to, punitive damages, attorneys’ fees, expert witness fees, the

costs of this action, and pre- and post-judgment interest.

COUNT V
WPLC violations

75. Plaintiff incorporates paragraphs 1 through 74 as though set forth in full herein.
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76. The Pennsylvania Wage Payment and Collection Law (Pa. Stat. Ann. Tit. 43, Section
260,1 et seq.) (hereinafter “WPCL”) defines wages as “all earnings of an employee, regardless of
whether determined on time, task, piece, commission or other method of calculation.” 43 Pa.
Stat. Ann. § 260.2a.

77. | The WPCL provides in part that:

. .. Every employer shall pay all wages, other than fringe benefits and wage
supplements, due to his employees on regular paydays designated in advance
by the employer. . . All wages, other than fringe benefits and wage
supplements, earned in any pay period shall be due and payable within the
number of days after the expiration of said pay period as provided in a written
contract of employment or, if not so specified, within the standard time lapse
customary in the trade or within 15 days from the end of such pay period. The
wage shall be paid in lawful money of the United States or check, except that
deductions provided by law, or as authorized by regulation of the Department
of Labor and Industry for the convenience of the employer, may be made. . .
43 Ps. Section 260.3

78. At the time of hire, an employer must notify employees of the rate of pay and the amount
of wage supplements that are to be paid to the employee. 43 Pa. Stat. Ann. § 260.4.

79. An employer must also notify employees of any changes in the rate of pay and/or changes
in the amount of wage supplements that are to be paid to the employee before said changes are
made. 43 Pa. Stat. Ann. § 260.4.

80. | The WPCL requires employers to pay all “wages and compensation earned”. 43 Pa. Stat.

Ann. § 260.5.

81. At all times material and relevant hereto, Defendant qualified as an “employer” within the
meaning of the WPCL.
82. At all times material and relevant hereto, Plaintiff qualified as an “employee” of

Defendant under the WPCL and was thus entitled timely payment of wages and compensation
earned and due to him.

83.  Defendant’s unilateral changes of wages and compensation without notifying Plaintiff
violated his rights under the WPCL.

84. | Asaconsequence of Defendant’s employment practices denying Plaintiff his due wages
and compensation earned, Defendant violated the WPCL.

85. As a direct and proximate result of Defendant’s unlawful employment practices and
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disregard for Plaintiff's rights, Plaintiff has suffered financial losses.

86. Defendant knowingly and willfully violated this applicable law and Plaintiff's rights.
WHEREFORE, Plaintiff Joseph Smith demands that Defendant’s conduct be declared in

violation of the WPCL; that Defendant be ordered to pay Plaintiff back pay, front pay, interest,

liquidated damages, attorney’s fees and costs, along with any other legal and equitable relief

recoverable under the Pennsylvania Wage Payment and Collection Law.

COUNT VI
Unjust enrichment

87. Plaintiff incorporates paragraphs 1 through 86 as though set forth in full herein.
88. If Defendant is not found liable for the above violations, Plaintiff brings this count and
asserts as follows:

(a) Plaintiff was not fully or properly compensated for his work for Defendant;

(b) Defendant accepted and retained the value and benefits of Plaintiffs under-
compensated work; and

(c) Defendant’s acceptance and retention of the aforementioned benefits, without
making full and final payment for same to Plaintiff is unjust and inequitable.

WHEREFORE, Plaintiff Joseph Smith demands that Defendant be declared unjustly
enriched; that Defendant be ordered to pay Plaintiff monies equal to the unjust enrichment, plus
attorney’s fees and costs, along with any other legal and equitable relief recoverable under the

circumstances.

JURY DEMAND

Plaintiff requests trial by jury on all counts.
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Dated: 11/22/2023

/s/ Albert J. Michell
Albert J. Michell, Esquire
Attorney ID: 76797
ALBERT J. MICHELL, P.C.
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Validation of Signature Code: AJM4598

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EXHIBIT “1”
NOTICE OF RIGHT TO SUE LETTER
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Philadelphia District Office
801 Market St, Suite 1000
Philadelphia, PA 19107
(267) 589-9700

Website: www.eeoc.gov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161, 161-A & 161-B)

Issued On: 09/18/2023

To: Mr. Joseph L. Smith
One Franklin Town Blvd Apt. # 2002
PHILADELPHIA, PA 19103

Re: Smith v. Medical Guardian, Llc.

EEOC Charge No: 530-2023-00309

EEOC Representative and Legal Unit
telephone number:

(267) 589-9707

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission,

Digitally Signed By: Karen McDonough
09/18/2023

Karen McDonough
Deputy District Director

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Ce:
Michael R Galey (for Respondent)

Please retain this notice for your records.
